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                                 UNITED STATES DISTRICT COURT
                                                           for the
                                                   District of Connecticut

      Connecticut Fair Housing Center, et al.
                         Plaintiff                            )
                                                              )
                            v.                                )      Case No.
                                                                                            3:18-cv-00705-VLB
                                                              )
  Corelogic Rental Property Solutions, LLC
                                                              )
                        Defendant

                                             NOTICE OF APPEARANCE

To:      The clerk of court and all parties of record

         I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

                                                          Plaintiffs
                                                                                                                      .


Date:             June 5, 2018                                       /s/ Eric Dunn
                                                                                        Attorney’s signature

                                                                     Eric Dunn (phv09610)
                                                                                    Printed name and bar number
                                                                     National Housing Law Project
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Rev. 5/4/2011
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                                   CERTIFICATE OF SERVICE


I hereby certify that on      June 5, 2018          , a copy of foregoing was filed electronically and served
by mail on anyone unable to accept electronic filing. Notice of this filing will be sent by e-mail to all parties
by operation of the Court=s electronic filing system or by mail to [Below list the names and addresses of anyone
unable to accept electronic filing] as indicate on the Notice of Electronic Filing. Parties may access this filing
through the Court's CM/ECF System.

                        N/A
                                                             /s/Eric Dunn
                                                            Attorney’s signature
